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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Plaintiffs
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
DAVID KACUR, and all similarly situated                                        CASE NUMBER:

individuals,                                                                                         8:17-cv-02222
                                                              Plaintiff(s),
                                     v.
ALTERYX, INC.,
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                              Plaintiff, DAVID KACUR
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                  PARTY                                                   CONNECTION / INTEREST
DAVID KACUR                                                                   Plaintiff

ALTERYX, INC.                                                                 Defendant




         December 20, 2017                                 /s/ Robert S. Green
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff, David Kacur


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
